












&nbsp;

Dismissed and Memorandum Opinion filed November 12,
2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00607-CR

____________

&nbsp;

NATHANIEL DWAYNE WELCH, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 248th District Court

Harris County, Texas

Trial Court Cause No. 1173927

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court. See Tex.
R. App. P. 42.2. Because this court
has not issued an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed. We direct the
Clerk of the court to issue the mandate of the court immediately.

PER CURIAM

&nbsp;

Panel
consists of Chief Justice Hedges, and Justices Anderson and Seymore.

Do not
publish C Tex. R. App. P. 47.2(b).





